     Case 2:08-cr-00164-KJD-GWF            Document 326        Filed 07/02/14      Page 1 of 2




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 7
                             UNITED STATES DISTRICT COURT
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                                       DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,
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            Plaintiff,                                  Case No. 2:08-CR-00164-KJD-GWF
12
     v.                                                 ORDER
13
     DEONTE REED,
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            Defendant.
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            Presently before the Court is Movant Deonte Reed’s Motion for Leave to Supplement
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     Pleading (#308/323). The Government is hereby ordered to file a response in opposition to Movant’s
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     motion within sixty (60) days of the entry of this order. The Government’s response should address
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     the following questions: (1) whether the proposed supplement is a timely § 2255 motion; (2) whether
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     the motion could be considered an allowable second or successive § 2255 motion; (3) whether
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     United States v. Yuman-Hernandez, 712 F.3d 471 (9th Cir. 2013) and United States v. Cortes, 2014
22
     WL 998403 (9th Cir. March 17, 2014) apply retroactively to cases like Movant’s which are on
23
     collateral review; and (4) whether Movant is entitled to relief on the merits of the supplement.
24
     ///
25
     ///
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     Case 2:08-cr-00164-KJD-GWF          Document 326        Filed 07/02/14     Page 2 of 2




 1         Any response by Movant must be filed within thirty (30) days of the filing of the

 2   Government’s opposition.

 3   IT IS SO ORDERED.

 4         DATED this 2nd day of July 2014.

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                                                Kent J. Dawson
 8                                              United States District Judge

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